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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202            Master Case No.:
                                         1:21-MI-55555-JPB



UNITED STATES OF AMERICA,
                                         Civil Action No.:
             Plaintiff,                  1:21-CV-02575-JPB

               v.

THE STATE OF GEORGIA, et al.,

             Defendants,

REPUBLICAN NATIONAL
COMMITTEE, et al.,

             Intervenor-Defendants.



 STATE DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION
    FOR RECONSIDERATION OR, IN THE ALTERNATIVE,
         CERTIFICATION FOR IMMEDIATE APPEAL
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                              INTRODUCTION

      The U.S. Department of Justice (“Department”) does not dispute that,

under binding Eleventh Circuit precedent, every plaintiff asserting a claim

under § 2 of the Voting Rights Act (“VRA”) must plead and prove

discriminatory results. Nor does the Department dispute that there are no

exceptions to this rule, because the express language of § 2, which of course

governs every § 2 case, demands that plaintiffs demonstrate that the

challenged state law “results in a denial or abridgement of the right … to vote

on account of race.” 52 U.S.C. § 10301(a) (emphasis added). Based on the

Eleventh Circuit’s cases and the unequivocal language of § 2, the one and only

claim advanced here by the Department should have been—and should still

be—dismissed.

      Indeed, the Department doesn’t deny that it made a deliberate decision

in this case to refrain from alleging discriminatory results. With that decision,

the Department has painted itself into a corner: In the Eleventh Circuit,

neither the Department nor any § 2 plaintiff may proceed on an allegation that

the law at issue was motivated by a discriminatory purpose without also

alleging discriminatory results.

      To be sure, as the Department urges, reconsideration and certification

for immediate appeal are not routinely granted. But Eleventh Circuit case law
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clearly requires some course correction here. Accordingly, this Court should

either dismiss the Department’s claim or permit the State Defendants to take

up the matter with the Eleventh Circuit.

                                ARGUMENT

I.    The Department Cannot, and So Does Not, Defend Its Position
      on Johnson and Brnovich.

      In moving for reconsideration, the State Defendants demonstrated that,

under the Eleventh Circuit’s controlling decision in Johnson v. DeSoto County

Board of Commissioners, 72 F.3d 1556 (11th Cir. 1996), the one-count

complaint filed by the Department should have been dismissed. The reason

the Department’s complaint should not have survived the State Defendants’

motion to dismiss is that the Department’s only claim is that SB 202 violates §

2 of the VRA because it allegedly was enacted with a discriminatory purpose,

and the Department deliberately chose not to allege that SB 202 will produce

any discriminatory results. Johnson, however, adopted a bright-line rule that

every § 2 plaintiff must plead and prove discriminatory results; a purpose-only

claim like the Department’s may not be brought in a district court in this

Circuit. See State Defs.’ Br. in Support of Mot. 1–6 [Doc. 11-1] (“Br.”). The

State Defendants also demonstrated in support of their motion that the

Department’s position on Johnson—that it is limited to vote-dilution cases—is


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refuted by the Eleventh Circuit’s own application of Johnson outside of that

context in Brooks v. Miller, 158 F.3d 1230 (11th Cir. 1998). See Br. 7. And the

State Defendants put to rest the notion that Johnson and Miller were

undermined in any way by the Supreme Court’s decision last Term in Brnovich

v. Democratic National Committee, 141 S. Ct. 2321 (2021). See Br. 8–11.

      In the face of these legal points, the most that the Department can say

in its opposition brief is that its position is “at least arguable.” Department

Opp. to Defs.’ Mot. 2, 7 [Doc. 19] (“Opp.”). But nowhere in the Department’s

paper is an actual argument that its stance on Johnson is even arguably

correct.

      Instead, the Department’s submission amounts to move along, there’s

nothing to see here.   The Department notes the State Defendants made a

Johnson argument in support of their motion to dismiss the first time around.

See Opp. 4–6. That is true. Of course, had the State Defendants not raised

Johnson before, they could not now seek reconsideration based on Johnson.

      But the motion for reconsideration did not simply press rewind and

replay the State Defendants’ prior argument. The brief supporting the motion

cogently explained why the order denying the motion to dismiss was clearly

inconsistent with Johnson.     The Department admits that a motion for

reconsideration is properly granted where there is “a need to correct a clear
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error of law.” Opp. 2 (quoting Bryan v. Murphy, 246 F. Supp. 2d 1256, 1259

(N.D. Ga. 2003)). Such a need exists here. The order denying the State

Defendants’ motion to dismiss the Department’s complaint, see Order, United

States v. State of Georgia, No. 1:21-cv-02575-JPB (Dec. 9, 2021) [Doc. 69],

committed a clear error of law by failing to follow Johnson. This Court has in

the past granted reconsideration to correct a clear error of law, see Avery v. City

of Covington, No. 1:18-cv-05417-JPB, 2021 WL 2435872, at *2–4 (N.D. Ga.

Mar. 12, 2021), and it should do so here as well.

II.   The Department’s Attempt to Distinguish Brooks v. Miller Fails.

      Although the Department fails to engage the State Defendants’

arguments about Johnson and Brnovich, it addresses Brooks in a footnote. See

Opp. 5 n.1. The plaintiffs in Brooks, like the Department here, “argue[d] that

a showing of discriminatory purpose alone is sufficient for a violation of § 2.”

Brooks, 158 F.3d at 1237.        The Eleventh Circuit rejected that argument,

including for the reason that “we are bound by Johnson … which held that

discriminatory intent alone, in the absence of a showing of discriminatory

effect, is insufficient to establish a violation of § 2.” Id.

      The Department argues that “Brooks was itself a vote-dilution case” and

thus is subject to its view that Johnson applies only in such cases. Opp. 5 n.1.

The argument fails for two reasons. First, it does not matter what kind of § 2
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case Brooks was because, by its terms, the rule of Johnson and Brooks applies

to all § 2 cases, full stop.

      Second, Brooks was not a vote-dilution case.        The Brooks plaintiffs

challenged Georgia’s primary runoff rule, which requires a runoff election in

the event no candidate in a primary election receives a majority of votes. The

Brooks plaintiffs—in addition to arguing that the runoff rule had a

discriminatory purpose and violated § 2 for that reason alone—argued that the

runoff rule produced discriminatory results because the “challenged provision

discouraged blacks from running for office.” 158 F.3d at 1237. That may be a

candidate-dilution claim, but it is not a vote-dilution claim.

      Indeed, Brooks recognized that the plaintiffs’ claim was “distinct” from a

vote-dilution claim. 158 F.3d at 1239. The Court stated that “[t]he Gingles

case involved a vote dilution claim against the use of multi-member districts.

… Because the requirement of a majority of the votes in a primary election is

distinct from the establishment of a multi-member district such as that at issue

in the Gingles case, Georgia’s majority vote provision does not fit neatly into

the analytical framework set out in Gingles.” Id. at 1238–39 (citing Thornburg

v. Gingles, 478 U.S. 30 (1986)) (emphasis added). The Eleventh Circuit then

proceeded to review the district court’s application of a modified Gingles test



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and to affirm the district court’s rejection of the plaintiffs’ discriminatory

results claim.

       Brooks confirms that Johnson is correctly read to apply to all § 2 claims.

At the very least, Brooks proves that Johnson applies in cases other than vote-

dilution cases.   What Brooks does not prove or even suggest is that the

Department’s complaint in this case is somehow shielded from the Johnson

rule that discriminatory results must be pleaded and proved in every § 2 case.

III.   The Department’s Arguments Against Certifying an Immediate
       Appeal Are Unpersuasive.

       As to the State Defendants’ alternative request for certification for

immediate appeal, the Department makes two unpersuasive arguments.

       First, the Department argues that the State Defendants have not shown

a “substantial ground for difference of opinion.” Opp. 8. The State Defendants

agree, but only to this extent: There are no substantial grounds supporting the

Department’s opinion as to Johnson. The Department ticks off several reasons

why it believes this Court was right to hold that § 2 permits purpose-only

claims. See Opp. 9. 1 But, tellingly, the Department does not say that holding


 1  One of those reasons warrants a reply here. The Department seems to
believe that its complaint states a proper § 2 claim merely because the
complaint makes “an allegation under the ‘totality of the circumstances.’” Opp.
9 (slightly misquoting VRA § 2(b), now codified at 52 U.S.C. § 10301(b)). But
as the State Defendants have previously explained, subsection 2(b), which
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comports with the clear teaching of Johnson.         A substantial ground for

difference of opinion might not exist if the Eleventh Circuit is “in complete and

unequivocal agreement with the district court.” McFarlin v. Conseco Servs.,

LLC, 381 F.3d 1251, 1258 (11th Cir. 2004) (quotation marks omitted). But the

Eleventh Circuit’s Johnson and Brooks decisions are in disagreement with this

Court’s ruling. Thus, the substantial ground factor is met here.

      In addition, the Department admits that a substantial ground for

difference of opinion exists when “the circuits are split on the issue.” Opp. 8

(quotation marks omitted). And, as previously explained, the Ninth Circuit

and the Eleventh Circuit are split on the question whether a § 2 violation may

be shown based on intent alone. See Br. 10–11. So that disagreement likewise

supports State Defendants’ request for certification.

      Second, the Department argues that certification would not “materially

advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). See

Opp. 10–11. Wrong again. The Department does not dispute that the question

whether Johnson and Brooks require all § 2 plaintiffs to plead and prove

discriminatory results is a “controlling question of law” for purposes of §




references the “totality of circumstances,” describes a method for proving
discriminatory results, and the Department has made clear that its claim is
bottomed on purpose alone. See Br. 6.
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1292(b).   The Department’s argument that obtaining an answer to that

controlling question would not materially advance the ultimate termination of

the litigation fails for the obvious reason that, if the Eleventh Circuit decides

that question in favor of the State Defendants, then the Department’s purpose-

only claim must be dismissed—in other words, terminated.                  If the

Department’s claim is dismissed, as it should be, that would obviously

“materially advance the ultimate termination of this litigation.”

                                CONCLUSION

      The Department simply has no good answer to the showing made by the

State Defendants that this Court’s order refusing to dismiss the Department’s

purpose-only Section 2 claim is in clear conflict with the Eleventh Circuit’s

Johnson and Brooks—or at least that certification of an interlocutory appeal

on that question is warranted. Accordingly, this Court should grant the motion

for reconsideration or alternatively grant certification for immediate appeal.

Johnson and Brooks control here.




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                    CERTIFICATE OF COMPLIANCE

      Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the

foregoing reply brief has been prepared in Century Schoolbook 13, a font and

type selection approved by the Court in L.R. 5.1(B).

                                          /s/ Gene C. Schaerr
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